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  5
    Attorneys for Defendant
  6 SOUTHWEST KEY PROGRAMS, INC.
    (erroneously sued as SOUTHWEST KEY
  7 PROGRAM, INC.)

  8                         UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10

 11 MARIA HERNANDEZ, an individual;               Case No. 3:19-cv-01281-JLS (BLM)
    ROBERTO NAVA, an individual; and
 12 AZAEL SANCHEZ, an individual,
                                                  JOINT MOTION FOR PROTECTIVE
 13                Plaintiff,                     ORDER
 14         v.
 15 SOUTHWEST KEY PROGRAM,
    INC., a foreign nonprofit; and DOES 1
 16 through 50,
                                                  Complaint Filed: June 4, 2019
 17                                               Trial Date:      None
                   Defendant.
 18

 19

 20   TO THE HONORABLE COURT:
 21         Pursuant to Federal Rule of Civil Procedure 26(c), Plaintiffs Maria Hernandez,
 22   Roberto Nava, and Azael Sanchez (“Plaintiffs”) and Defendant Southwest Key
 23   Programs, Inc. (erroneously sued as Southwest Key Program, Inc.) (“Defendant”)
 24   (collectively, “the Parties”), hereby move the Court to enter the Protective Order
 25   attached to this Motion. In support of their motion, the Parties state:
 26         1.     The Parties anticipate that confidential information may be requested or
 27   disclosed, including, but not limited to, trade secret or other proprietary and sensitive
 28   business records, or other sensitive information as is contemplated by Federal Rule

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  1   of Civil Procedure 26(c)(1)(G). The Parties anticipate that such records will include
  2   information protected by third-party privacy rights and proprietary company policies
  3   and data.
  4         2.     The persons and/or entities about whom this confidential information
  5   relates to have legitimate confidentiality and privacy expectations regarding this
  6   information, which should be protected from public disclosure.
  7         3.     The attached Protective Order is designed to protect these legitimate
  8   confidentiality and privacy expectations.
  9         WHEREFORE, the Parties respectfully request that this Court enter a
 10   Protective Order limiting the disclosure and use of discovery materials in this case in
 11   accordance with the proposed Protective Order, which is attached hereto as Exhibit
 12   A.
 13

 14   DATED: September 16, 2019              MARLIS LAW, P.C.
 15

 16                                          By: /s/ Brent Marlis__________________
                                                 Brent Marlis
 17                                              Young Park
                                                 Attorneys for Plaintiffs
 18                                              MARIA HERNANDEZ, ROBERTO
                                                 NAVA, AZAEL SANCHEZ
 19

 20

 21
      DATED: September 16, 2019              OGLETREE, DEAKINS, NASH, SMOAK &
 22                                          STEWART, P.C.

 23

 24
                                             By: /s/ Lyne A. Richardson
 25                                              Lyne A. Richardson
                                                 Attorneys for Defendant
 26                                              SOUTHWEST KEY PROGRAMS, INC.
                                                 (erroneously sued as SOUTHWEST KEY
 27                                              PROGRAM, INC.)

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  1                                  Signature Certification
  2   Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
  3   Procedures Manual, I hereby certify that the content of this document is acceptable
  4   to Plaintiff’s counsel, Brent Marlis, and that I have obtained Mr. Marlis’
  5   authorization to affix his electronic signature to this document.
  6
      DATED: September 16, 2019              By: /s/ Lyne A. Richardson
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                                        3        Case No. 3:19-cv-01281-JLS (BLM)
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                       EXHIBIT A


                                      4
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  8
                            UNITED STATES DISTRICT COURT
  9
                         SOUTHERN DISTRICT OF CALIFORNIA
 10

 11 MARIA HERNANDEZ, an individual;              Case No. 3:19-cv-01281-JLS (BLM)
    ROBERTO NAVA, an individual; and
 12 AZAEL SANCHEZ, an individual,
                                                 PROTECTIVE ORDER
 13                Plaintiff,
 14         v.
 15 SOUTHWEST KEY PROGRAM,
    INC., a foreign nonprofit; and DOES 1
 16 through 50,                                  Complaint Filed: June 4, 2019
                                                 Trial Date:      None
 17
                   Defendant.
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 20         The Court recognizes that at least some of the documents and information

 21   (“materials”) being sought through discovery in the above-captioned action are, for

 22   competitive reasons, normally kept confidential by the parties. The parties have agreed

 23   to be bound by the terms of this Protective Order (“Order”) in this action.

 24         The materials to be exchanged throughout the course of the litigation between

 25   the parties may contain trade secret or other confidential research, technical, cost,

 26   price, marketing or other commercial information, as is contemplated by Federal Rule

 27   of Civil Procedure 26(c)(1)(G). The purpose of this Order is to protect the

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                                           1                     Case No. 3:19-cv-01281-JLS (BLM)
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  1   confidentiality of such materials as much as practical during the litigation.
  2   THEREFORE:
  3                                       DEFINITIONS
  4         1.     The term "confidential information" will mean and include information
  5   contained or disclosed in any materials, including documents, portions of documents,
  6   answers to interrogatories, responses to requests for admissions, trial testimony,
  7   deposition testimony, and transcripts of trial testimony and depositions, including data,
  8   summaries, and compilations derived therefrom that is deemed to be confidential
  9   information by any party to which it belongs.
 10         2.     The term "materials" will include, but is not be limited to: documents;
 11   correspondence; memoranda; bulletins; blueprints; specifications; customer lists or
 12   other material that identify customers or potential customers; price lists or schedules
 13   or other matter identifying pricing; minutes; telegrams; letters; statements; cancelled
 14   checks; contracts; invoices; drafts; books of account; worksheets; notes of
 15   conversations; desk diaries; appointment books; expense accounts; recordings;
 16   photographs; motion pictures; compilations from which information can be obtained
 17   and translated into reasonably usable form through detection devices; sketches;
 18   drawings; notes (including laboratory notebooks and records); reports; instructions;
 19   disclosures; other writings; models and prototypes and other physical objects.
 20         3.     The term “counsel” will mean outside counsel of record, and other
 21   attorneys, paralegals, secretaries, and other support staff employed in the law firms
 22   identified as counsel of record. “Counsel” also includes in-house attorneys for
 23   Defendant.
 24                                        GENERAL RULES
 25         4.     Each party to this litigation that produces or discloses any materials,
 26   answers to interrogatories, responses to requests for admission, trial testimony,
 27   deposition testimony, and transcripts of trial testimony and depositions, or information
 28   that the producing party believes should be subject to this Protective Order may
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  1   designate the same as "CONFIDENTIAL" or "CONFIDENTIAL - FOR COUNSEL
  2   ONLY.”
  3         a.     Designation as "CONFIDENTIAL": Any party may designate
  4   information as "CONFIDENTIAL" only if, in the good faith belief of such party and
  5   its counsel, the unrestricted disclosure of such information could be potentially
  6   prejudicial to the business or operations of such party.
  7         b.     Designation as "CONFIDENTIAL - FOR COUNSEL ONLY": Any party
  8   who wishes to designate information as "CONFIDENTIAL - FOR COUNSEL
  9   ONLY" shall seek permission from the Court prior to making such designation.
 10         5.     In the event the producing party elects to produce materials for
 11   inspection, no marking need be made by the producing party in advance of the initial
 12   inspection. For purposes of the initial inspection, all materials produced will be
 13   considered as “CONFIDENTIAL - FOR COUNSEL ONLY,” and must be treated as
 14   such pursuant to the terms of this Order. Thereafter, upon selection of specified
 15   materials for copying by the inspecting party, the producing party must, within a
 16   reasonable time prior to producing those materials to the inspecting party, mark the
 17   copies of those materials that contain confidential information with the appropriate
 18   confidentiality marking.
 19         6.     Whenever a deposition taken on behalf of any party involves a disclosure
 20   of confidential information of any party:
 21              a. the deposition or portions of the deposition must be designated as
 22                containing confidential information subject to the provisions of this
 23                Order; such designation must be made on the record whenever possible,
 24                but a party may designate portions of depositions as containing
 25                confidential information after transcription of the proceedings; [A] party
 26                will have until fourteen (14) days after receipt of the deposition transcript
 27                to inform the other party or parties to the action of the portions of the
 28

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  1                 transcript to be designated "CONFIDENTIAL" or "CONFIDENTIAL -
  2                 FOR COUNSEL ONLY.”
  3              b. the disclosing party will have the right to exclude from attendance at the
  4                 deposition, during such time as the confidential information is to be
  5                 disclosed, any person other than the deponent, counsel (including their
  6                 staff and associates), the court reporter, and the person(s) agreed upon
  7                 pursuant to paragraph 8 below; and
  8              c. the originals of the deposition transcripts and all copies of the deposition
  9                 must bear the legend “CONFIDENTIAL” or “CONFIDENTIAL - FOR
 10                 COUNSEL ONLY,” as appropriate, and the original or any copy
 11                 ultimately presented to a court for filing must not be filed unless it can be
 12                 accomplished under seal, identified as being subject to this Order, and
 13                 protected from being opened except by order of this Court.
 14         7.      All confidential information designated as “CONFIDENTIAL” or
 15   “CONFIDENTIAL FOR COUNSEL ONLY” must not be disclosed by the receiving
 16   party to anyone other than those persons designated within this order and must be
 17   handled in the manner set forth below and, in any event, must not be used for any
 18   purpose other than in connection with this litigation (including, but not limited to
 19   disclosing information to the press or media), unless and until such designation is
 20   removed either by agreement of the parties, or by order of the Court. If any party
 21   violates this Order, the violating party shall pay damages pursuant to section 14.
 22         8.      Information designated “CONFIDENTIAL - FOR COUNSEL ONLY”
 23   must be viewed only by counsel (as defined in paragraph 3) of the receiving party, and
 24   by independent experts under the conditions set forth in this Paragraph. The right of
 25   any independent expert to receive any confidential information will be subject to the
 26   advance approval of such expert by the producing party or by permission of the Court.
 27   The party seeking approval of an independent expert must provide the producing party
 28   with the name and curriculum vitae of the proposed independent expert, and an
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  1   executed copy of the form attached hereto as Exhibit A, in advance of providing any
  2   confidential information of the producing party to the expert. Any objection by the
  3   producing party to an independent expert receiving confidential information must be
  4   made in writing within fourteen (14) days following receipt of the identification of the
  5   proposed expert. Confidential information may be disclosed to an independent expert
  6   if the fourteen (14) day period has passed and no objection has been made. The
  7   approval of independent experts must not be unreasonably withheld.
  8         9.       Information designated “confidential” must be viewed only by counsel of
  9   record of the receiving party, by independent experts (pursuant to the terms of
 10   paragraph 8), by court personnel, and by the additional individuals listed below,
 11   provided each such individual has read this Order in advance of disclosure and has
 12   agreed in writing to be bound by its terms:
 13               a) Executives who are required to participate in policy decisions with
 14                  reference to this action;
 15               b) Technical personnel of the parties with whom Counsel for the parties find
 16                  it necessary to consult, in the discretion of such counsel, in preparation
 17                  for trial of this action; and
 18               c) Stenographic and clerical employees associated with the individuals
 19                  identified above; and
 20               d) The Parties.
 21         10.      With    respect    to    material   designated     “CONFIDENTIAL”              or
 22   “CONFIDENTIAL – FOR COUNSEL ONLY,” any person indicated on the face of
 23   the document to be its originator, author or a recipient of a copy of the document, may
 24   be shown the same.
 25         11.      All information which has been designated as “CONFIDENTIAL” or
 26   “CONFIDENTIAL -FOR COUNSEL ONLY” by the producing or disclosing party,
 27   and any and all reproductions of that information, must be retained in the custody of
 28   the counsel for the receiving party identified in paragraph 3, except that independent
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  1   experts authorized to view such information under the terms of this Order may retain
  2   custody of copies such as are necessary for their participation in this litigation.
  3         12.     Before any materials produced in discovery, answers to interrogatories,
  4   responses to requests for admissions, deposition transcripts, or other documents which
  5   are designated as confidential information are filed with the Court for any purpose, the
  6   party seeking to file such material must seek permission of the Court to file the material
  7   under seal.
  8         13.     At any stage of these proceedings, any party may object to a designation
  9   of the materials as confidential information. The party objecting to confidentiality
 10   must notify, in writing, counsel for the designating party of the objected-to materials
 11   and the grounds for the objection. If the dispute is not resolved consensually between
 12   the parties within seven (7) days of receipt of such a notice of objections, the objecting
 13   party may move the Court for a ruling on the objection. The materials at issue must be
 14   treated as confidential information, as designated by the designating party, until the
 15   Court has ruled on the objection or the matter has been otherwise resolved.
 16         14.     All confidential information must be held in confidence by those
 17   inspecting or receiving it, and must be used only for purposes of this action. Counsel
 18   for each party, and each person receiving confidential information must take
 19   reasonable precautions to prevent the unauthorized or inadvertent disclosure of such
 20   information. If confidential information is disclosed to any person other than a person
 21   authorized by this Order, the party responsible for the unauthorized disclosure must
 22   immediately bring all pertinent facts relating to the unauthorized disclosure to the
 23   attention of the other parties and, without prejudice to any rights and remedies of the
 24   other parties, make every effort to prevent further disclosure by the party and by the
 25   person(s) receiving the unauthorized disclosure.        The party responsible for the
 26   unauthorized disclosure must also forfeit to the party who designated the confidential
 27   information a sum of $1,000 for each unauthorized disclosure in violation of this
 28   Order.
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  1         15.    No party will be responsible to another party for disclosure of confidential
  2   information under this Order if the information in question is not labeled or otherwise
  3   identified as such in accordance with this Order.
  4         16.     If a party, through inadvertence, produces any confidential information
  5   without labeling or marking or otherwise designating it as such in accordance with this
  6   Order, the designating party may give written notice to the receiving party that the
  7   document or thing produced is deemed confidential information, and that the
  8   document or thing produced should be treated as such in accordance with that
  9   designation under this Order. The receiving party must treat the materials as
 10   confidential, once the designating party so notifies the receiving party. If the receiving
 11   party has disclosed the materials before receiving the designation, the receiving party
 12   must notify the designating party in writing of each such disclosure. Counsel for the
 13   parties will agree on a mutually acceptable manner of labeling or marking the
 14   inadvertently produced materials as “CONFIDENTIAL” or “CONFIDENTIAL - FOR
 15   COUNSEL ONLY” - SUBJECT TO PROTECTIVE ORDER.
 16         17.    Nothing within this order will prejudice the right of any party to object to
 17   the production of any discovery material on the grounds that the material is protected
 18   as privileged or as attorney work product.
 19         18.    Nothing in this Order will bar counsel from rendering advice to their
 20   clients with respect to this litigation and, in the course thereof, relying upon any
 21   information designated as confidential information, provided that the contents of the
 22   information must not be disclosed.
 23         19.    This Order will be without prejudice to the right of any party to oppose
 24   production of any information for lack of relevance or any other ground other than the
 25   mere presence of confidential information. The existence of this Order must not be
 26   used by either party as a basis for discovery that is otherwise improper under the
 27   Federal Rules of Civil Procedure.
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                                            7                      Case No. 3:19-cv-01281-JLS (BLM)
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  1            20.   Nothing within this Order will be construed to prevent disclosure of
  2   confidential information if such disclosure is required by law or by order of the Court.
  3            21.   Without a separate court order, this Order and any stipulation by the
  4   parties regarding the same do not change, amend, or circumvent any court rule or local
  5   rules.
  6            22.   Upon final termination of this action, including any and all appeals,
  7   counsel for each party must within thirty (30) days after receipt of a request from the
  8   producing party, return all confidential information to the party that produced the
  9   information, including any copies, excerpts, and summaries of that information, and
 10   must purge all such information from all machine-readable media on which it resides.
 11   If either party fails to comply with the foregoing, any action by this Court must be
 12   preceded by an ex parte motion for an order authorizing the return or destruction of all
 13   “CONFIDENTIAL” or “CONFIDENTIAL -FOR COUNSEL ONLY” material to the
 14   party that produced the information. Notwithstanding the foregoing, counsel for each
 15   party may retain all pleadings, briefs, memoranda, motions, and other documents filed
 16   with the Court that refer to or incorporate confidential information, and will continue
 17   to be bound by this Order with respect to all such retained information. Further,
 18   attorney work product materials that contain confidential information need not be
 19   destroyed, but, if they are not destroyed, the person in possession of the attorney work
 20   product will continue to be bound by this Order with respect to all such retained
 21   information.
 22            23.   The restrictions and obligations set forth within this Order will not apply
 23   to any information that: (a) the parties agree should not be designated confidential
 24   information; (b) the parties agree, or the Court rules, is already public knowledge; (c)
 25   the parties agree, or the Court rules, has become public knowledge other than as a
 26   result of disclosure by the receiving party, its employees, or its agents in violation of
 27   this Order; or (d) has come or will come into the receiving party's legitimate
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  1   knowledge independently of the production by the designating party. Prior knowledge
  2   must be established by pre-production documentation.
  3            24.   The restrictions and obligations within this Order will not be deemed to
  4   prohibit discussions of any confidential information with anyone if that person already
  5   has or obtains legitimate possession of that information.
  6            25.   Transmission by email or some other currently utilized method of
  7   transmission is acceptable for all notification purposes within this Order.
  8            26.   This Order may be modified by agreement of the parties, subject to
  9   approval by the Court.
 10            27.   The Court may modify the terms and conditions of this Order for good
 11   cause, or in the interest of justice, or on its own order at any time in these proceedings.
 12   The parties prefer that the Court provide them with notice of the Court's intent to
 13   modify the Order and the content of those modifications, prior to entry of such an
 14   order.
 15

 16            IT IS SO ORDERED this _______ day of __________, _____
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 18                                              _____________________________________

 19                                              Honorable Barbara L. Major
                                                 United States District Court
 20                                              Magistrate Judge
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                                            9                       Case No. 3:19-cv-01281-JLS (BLM)
                                     PROTECTIVE ORDER
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  1                                       EXHIBIT A
  2         I hereby acknowledge that I, ________________________, am about to receive
  3   “Confidential” and/or “Confidential-For Counsel Only” information supplied in
  4   connection with the proceeding, Maria Hernandez, et al. v. Southwest Key Program,
  5   Inc., United States District Court for the Southern District of California, Case No.
  6   3:19-cv-01281-JLS (BLM). I certify that I understand that the “Confidential” and/or
  7   “Confidential-For Counsel Only” information is provided to me subject to the terms
  8   and restrictions of the Stipulated Protected Order dated _____________, 2019.
  9         I have been given a copy of that Order and read it. I agree to be bound by the
 10   Order. I will not disclose “Confidential” and/or “Confidential-For Counsel Only”
 11   information to anyone, except as allowed by the Court. I will maintain such
 12   “Confidential” and/or “Confidential-For Counsel Only” information to anyone, except
 13   as allowed by the Court. I will maintain all such “Confidential” and/or “Confidential-
 14   For Counsel Only” information in a secure manner to prevent unauthorized access to
 15   it. No later than 30 days after the termination of this action, I will return the
 16   “Confidential” and/or “Confidential-For Counsel Only” information to the counsel
 17   who provided it to me. I hereby consent to the subject to the personal jurisdiction of
 18   the Court, with respect to any proceedings relative to the enforcement of that Order,
 19   including without limitation any proceeding related to contempt of Court.
 20         I declare under penalty of perjury, under the laws of the United States of
 21   America, that the foregoing is true and correct.         Executed this ____day of
 22   ____________ 20__, at _________________________.
 23         Signature:                ____________________________________
 24         Print Name:               ____________________________________
 25         Address:                  ____________________________________
 26         City, State, Zip:         ____________________________________
 27         Telephone No.             ____________________________________
 28

                                          10                    Case No. 3:19-cv-01281-JLS (BLM)
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  1                            CERTIFICATE OF SERVICE
                        Hernandez, et al. v. Southwest Key Programs, Inc.
  2                          Case No. 3:19-cv-01281-JLS (BLM)
  3        I am and was at all times herein mentioned over the age of 18 years and not a
    party to the action in which this service is made. At all times herein mentioned I have
  4 been employed in the County of Los Angeles in the office of a member of the bar of
    this court at whose direction the service was made. My business address is 19191 S.
  5 Vermont Avenue, Suite 950, Torrance, CA 90502.

  6         On September 16, 2019, I served the following document(s):
  7                     JOINT MOTION FOR PROTECTIVE ORDER
  8
      by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as
  9   follows:
 10   ☒     BY MAIL: I placed the envelope for collection and mailing, following our
            ordinary business practices. I am readily familiar with the practice of Ogletree,
 11         Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
            correspondence for mailing. On the same day that correspondence is placed for
 12         collection and mailing, it is deposited in the ordinary course of business with
            the United States Postal Service, in a sealed envelope with postage fully prepaid.
 13
      ☐     BY CM/ECF: With the Clerk of the United States District Court of California,
 14         using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
            notification of the foregoing filing to the parties and counsel of record who are
 15         registered with the Court’s CM/ECF System.
 16   ☒     (Federal)    I declare that I am employed in the office of a member of the State
                         Bar of this Court at whose direction the service was made. I
 17                      declare under penalty of perjury under the laws of the United States
                         of America that the above is true and correct.
 18
             I declare under penalty of perjury under the laws of the United States of America
 19   that the above is true and correct.
 20
            Executed on September 16, 2019, at Torrance, California.
 21

 22                                                 / s / Carolina Martis
                                                    Carolina Martis
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                        JOINT MOTION FOR PROTECTIVE ORDER
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  1                                     SERVICE LIST
  2
      Brent P. Marlis, Esq.                   Attorneys for Plaintiffs
  3   Young K. Park, Esq.                     MARIA HERNANDEZ, ROBERTO
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  5   Tel:      (310) 431-9355
      Fax:     (424) 293-0516
  6   Email: brent@marlislaw.com
               young@marlislaw.com
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                     JOINT MOTION FOR PROTECTIVE ORDER
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